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At this time,




The nature and circumstances of the offense charged, Mr. Jensen’s alleged role in the violent assault on the United States
Capitol that briefly interrupted the peaceful transfer of power in our country, are gravely serious. The grand jury has charged Mr.
Jensen with, among other things, obstructing an official proceeding under 18 U.S.C. Section 1512(c)(2). That offense carries a
maximum sentence of 20 years in prison. And the proceeding that was occurring on that day was Congress's certification of the
vote count of the Electoral College for the 2020 Presidential Election. Mr. Jensen allegedly travelled halfway across the country
from Iowa to the District of Columbia, attended a rally in support of former President Trump, joined rioters by climbing through a
broken window to enter the Capitol while armed with a knife, led a mob chasing Capitol Police Officer Eugene Goodman up a
flight of stairs in a menacing fashion, threatened to take the officer's baton, and refused to obey the officer’s lawful orders to stop
and leave. This factor weighs in favor of detention.




The strength of the government’s evidence is overwhelming, given that it has proffered photos and links to video of the incident.
This factor weighs in favor of detention.
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Mr. Jensen’s criminal history is not too serious, but includes four criminal convictions, including one for domestic assault. He
did voluntarily contact law enforcement and submit to an interview about his conduct on January 6. But the government
proffers that Mr. Jensen’s actions that day were motivated by conspiracy theories that, in Mr. Jensen’s words, led him to be “all
about a revolution” against the lawful government of the United States. Indeed, Mr. Jensen allegedly told law enforcement that
he believed in preventing the election of now-President Biden from being certified by Congress, and that he was present in the
Capitol to participate in an event he thought would result in the arrest of Members of Congress and Vice President Mike Pence.
Although President Biden’s victory has now been certified by Congress and he has been sworn into office, at this point the
Court has no basis to conclude that Mr. Jensen’s interest in “revolution” against the United States government and his
willingness to use force to accomplish that goal have come to an end. On this record, this factor weighs in favor of detention.




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For all the reasons explained above, Mr. Jensen poses a serious risk of danger to the community. This factor weighs in favor of
detention.




        February 23, 2021
                                                                                      District
